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  AO 2458 (Rev. AO 09/11-CAN 12/14) Judgment in Criminal Case
            Sheet I


                                     UNITED STATES DISTRICT COURT
                                        Northern District of California
             UNITED STATES OF AMERICA                                      ) JUDGMENT IN A CRIMINAL CASE
                                   v.                                     )
                     Vianey Naranjo Aranda                                )     USDC Case Number: CR-12-00833-010 LHK
             (also known as "Vianey Naranjo Arandas")                     )     BOP Case Number: DCAN512CR00833-010
                                                                          )     USM Number: 40665-298
                                                                          )     Defendant's Attorney: Robert E. Carey Jr. (Appointed)


  THE DEFENDANT:                                                                                                FILED
  [X]     pleaded guilty to: Count Six of the Second Superseding Indictment.
  []      pleaded nolo contendere to count(s): _ _ _ _ which was accepted by the court.
                                                                                                                 DEC 18 Z014
  [ ]     was found guilty on count(s):                  after a plea of not guilty.

                                  'I o f these o ffienses:
  The de fiendant IS adju 1cated mlty
  Title & Section                 Nature of Offense                                                 Offense Ended          Count
  18 U.S.C. §§ 1956(h) and        Conspiracy to Commit Money Laundering                             11129/2012             Six
  1956(a)(2)(B)(i)
                                                                  . .                     ..
  The defendant Is sentenced as provided m pages 2 through 6 ofthiSJudgment. The sentence IS Imposed pursuant to the Sentencing
  Reform Act of 1984.

  [ ]     The defendant has been found not guilty on count(s): _ _ __
  [ ]     Count(s)                 is/are dismissed on the motion of the United States.

      It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered
to pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                              12110/2014




                                                                              Signature     udge
                                                                              The Honorable Lucy H. Koh
                                                                              United States District Judge
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                                                              IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of:
        Thirty-seven (37) months.

[X]     The Court makes the following recommendations to the Bureau of Prisons:
        The defendant shall be designated at FCI Dublin satellite camp or at a facility closest to San Jose, CA and Sacramento, CA to
        facilitate family visitation and which also affords the most education and vocational opportunities as possible.

[X]     The defendant is remanded to the custody of the United States Marshal. The appearance bond is hereby exonerated.

[ ]     The defendant shall surrender to the United States Marshal for this district:
        [ ]    at               arnlpm on                (no later than 2:00pm).
        [ ]    as notified by the United States Marshal.
        The appearance bond shall be deemed exonerated upon the surrender of the defendant.

[ ]     The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
        [ ]    at               arnlpm on                  (no later than 2:00 pm).
        [ ]    as notified by the United States Marshal.
        [ ]    as notified by the Probation or Pretrial Services Office.
        The appearance bond shall be deemed exonerated upon the surrender of the defendant.


                                                                RETURN
I have executed this judgment as follows:




         Defendant delivered o n - - - - - - - - - - - - - to _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ at
         - - - - - - - - - - - - - - - - - , with a certified copy of this judgment.




                                                                                        UNITED STATES MARSHAL


                                                                 By   --------~~~~~==~~~~~~~~-------
                                                                            DEPUTY UNITED STATES MARSHAL
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                                                       SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of: Three (3) years.

The court imposes a three-year term of supervised release. However, upon release from imprisonment, the defendant will likely be
deported and will not be in the United States to be supervised. At all times, the defendant shall comply with the rules and regulations
of the Bureau of Immigration and Customs Enforcement and, if deported, shall not reenter the United States without the express
consent of the Secretary of the Department of Homeland Security.

If the defendant is deported, and within three years of release from imprisonment returns to this country, legally or illegally, the
defendant shall be subject to the conditions of supervised release and shall report to the nearest probation office within 72 hours of
reentry. If the defendant for some reason is not deported and remains in this country, the defendant shall be subject to the conditions
of supervised release and shall report to the nearest probation office within 72 hours of release from imprisonment.

[ ]     The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
        substance abuse.
[X]     The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
[ ]     The defendant shall cooperate in the collection of DNA as directed by the probation officer.
[ ]     The defendant shall comply with the requirements ofthe Sex Offender Registration and Notification Act (42 U.S.C. § 16901,
        et seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or
        she resides, works, is a student, or was convicted of a qualifying offense.
[ ]     The defendant shall participate in an approved program for domestic violence.

         If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with
the Schedule of Payments sheet of this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached page.

                                       STANDARD CONDITIONS OF SUPERVISION

I)       The defendant shall not leave the judicial district without the permission of the court or probation officer;
2)       The defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five
         days of each month;
3)       The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
         officer;
4)       The defendant shall support her dependents and meet other family responsibilities;
5)       The defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or
         other acceptable reasons;
6)       The defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
7)       The defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
         controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
8)       The defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9)       The defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person
         convicted of a felony, unless granted permission to do so by the probation officer;
10)      The defendant shall permit a probation officer to visit her at any time at home or elsewhere and shall permit confiscation of
         any contraband observed in plain view of the probation officer;
II)      The defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
         enforcement officer;
12)      The defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without
         the permission of the court; and
13)      As directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
         defendant's criminal record or personal history or characteristics and shall permit the probation officer to make such
         notifications and to confirm the defendant's compliance with such notification requirement.
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                                             SPECIAL CONDITIONS OF SUPERVISION

         I.   The defendant shall not commit another Federal, State, or local crime.

        2.    The defendant shall submit to a search of her person, residence, office, vehicle, or any property under her control to a search.
              Such a search shall be conducted by a United States Probation Officer or any federal, state, or local law enforcement officer
              at any time with or without suspicion. Failure to submit to such a search may be grounds for revocation; the defendant shall
              warn any residents that the premises may be subject to searches.

        3.    The defendant shall pay any special assessment that is imposed by this judgment.

        4.    The defendant shall have no contact with any co-defendants in this case, namely: Salvador Espinoza-Patino, Pedro Carbajal-
              Ruvalcaba, Alejandro Espinoza Deltoro (also known as Marco Antonio Ortuno DelToro), Omar Gonzalez, Marco Antonio
              Farias, Juan Figuero Garcia, Julio Garcia, Jose Corona-Mata, Jorge Alicandro Fernandez, and Alondra Nayali Torres-
              Sanchez.




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AO 245B (Rev. AO 09/11-CAN 12/14) Judgment in Criminal Case
DEFENDANT: Vianey Naranjo Aranda                                                                                                         Judgment - Page 5 of 6
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                                                    CRIMINAL MONETARY PENALTIES
           The defendant must pay the total criminal monetary penalties under the schedule of payments.

                                                       Assessment                                     Fine                                    Restitution
TOTALS                                                   $ 100                                       Waived                                      N/A



[ ]       The determination of restitution is deferred until _ _ _ _ . An Amended Judgment in a Criminal Case (AO 245C) will be
          entered after such determination.
[ ]       The defendant must make restitution (including community restitution) to the following payees in the amount listed below.


           If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
           otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all
           nonfederal victims must be paid before the United States is paid .
Name of Payee                                          Total Loss •                         Restitution Ordered                        Priority or Percentage




TOTALS                                                    $ 0.00                                     $ 0.00


[ ]       Restitution amount ordered pursuant to plea agreement$-----
[ ]       The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full
          before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6
          may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).
[ ]       The court determined that the defendant does not have the ability to pay interest and it is ordered that:
          [ ]      the interest requirement is waived for the fine/restitution.
          [ ]      the interest requirement is waived for the fme/restitution is modified as follows:




• Findings for the total amount of losses are required under Chapters I 09A, II 0, II OA, and 113A of Title 18 for offenses committed on or after September 13, 1994, but
before April 23, 1996.
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                                                               SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows*:

A      [X]        Lump sum payment of$100 due immediately, balance due

                  [ ]       not later than - - - - - , or
                  [X]       in accordance with [ ] C, [ ] D, or [ ] E, and/or [X] F below); or

8      [ ]        Payment to begin immediately (may be combined with [ ] C, [ ] D or [ ] F below); or

c      []        Payment in equal          (e.g., weekly, monthly, quarterly) installments of                  over a period of
                 _ _ _ _ (e.g., months or years), to commence               (e.g., 30 or 60 days) after the date ofthisjudgment; or

D      [ ]       Payment in equal                (e.g., weekly, monthly, quarterly) installments of                  over a period of
                 _ _ _ _ (e.g., months or years), to commence                     (e.g., 30 or 60 days) after release from imprisonment to a
                 term of supervision; or
E      [ ]       Payment during the term of supervised release will commence within                   (e.g., 30 or 60 days) after release
                 from imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that
                 time; or
F      [X]       Special instructions regarding the payment of criminal monetary penalties:
                 When incarcerated, payment of criminal monetary penalties are due during imprisonment at the rate of not less than $25
                 per quarter and payment shall be through the Bureau of Prisons Inmate Financial Responsibility Program. Criminal
                 monetary payments shall be made to the Clerk ofU.S. District Court, 450 Golden Gate Ave., Box 36060, San Francisco,
                 CA 94102.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
due during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons'
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

[ ]       Joint and Several

Case Number                                                       Total Amount              Joint and Several                        Corresponding Payee,
Defendant and Co-Defendant Names                                                                Amount                                  if appropriate
(includin2 defendant number)



[ ]       The defendant shall pay the cost of prosecution.

[ ]       The defendant shall pay the following court cost(s):

[X]       The defendant shall forfeit the defendant's interest in the following property to the United States: 1) Freedom Arms .22 caliber
          pistol, Serial Number A 76730; 2) Davis Industries Derringer handgun, Serial Number 068300; 3) Smith and Wesson 9 mm
          pistol, Serial Number RA W5523; 4) Smith and Wesson .22 caliber revolver, Serial Number BKD3843; 5) Florida Firearms
          .38 caliber revolver, Serial Number FF305149; 6) Beretta Model 950 .25 caliber handgun, Serial Number DAA038371; 7)
          Beretta Model 92FS 9mm pistol, Serial Number BER412403Z; 8) Springfield Arms Model XD 9 mm pistol, Serial Number
          MG916820; and 9) Smith and Wesson Model3906 9mm handgun, Serial Number TCY8727.

[ ]       The Court gives notice that this case involves other defendants who may be held jointly and severally liable for payment of all or part of the
          restitution ordered herein and may order such payment in the future, but such future orders do not affect the defendant's responsibility
          for the full amount of the restitution ordered.


·Payments shall be applied in the following order: {I) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
